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                                                 June 12, 2023

VIA NYSCEF AND EMAIL

The Honorable Gregory H. Woods
United States District Judge
United States Courthouse
500 Pearl Street, Courtroom 12C
New York, New York 10007-1312

               Re:   U.S. Bank, National Association, et. al. v. The Charitable Donor Advised Fund,
                     L.P. et. al., No. 1:21-cv-11059 (GHW): Joint Stipulation and Order Concerning
                     Counterclaims against Highland CLO Funding, Ltd.

Dear Judge Woods:

       I write on behalf of third-party defendant Highland CLO Funding, Ltd. (“HCLOF”)
pursuant to Rule 1(F) of the Court’s Individual Rules of Practice in Civil Cases to bring to Your
Honor’s attention our filing of the Joint Stipulation and Proposed Order Concerning the
Counterclaims against HCLOF in the above-captioned case.

       As described in our filing, a copy of which is enclosed herewith, HCLOF, together with
Charitable DAF Fund, LP a/k/a The Charitable Donor Advised Fund, L.P. (“DAF”) and CLO
HoldCo, Ltd. (“CLOH, and with the DAF, the “CLOH Parties”), respectfully request to stay
HCLOF’s request for a pre-motion conference until the Court resolves the CLOH Parties’
motion to amend their answer and counterclaims (the “Counterclaims”).

        HCLOF filed a letter requesting a pre-motion conference in order to file a motion to
dismiss the Counterclaims [ECF No. 132]. The CLOH Parties have indicated that they intend to
seek leave to amend their Counterclaims further. If granted, that motion could moot HCLOF’s
pre-motion conference request. As a result, the parties have agreed for the sake of efficiency to
stay HCLOF’s request and the CLOH Parties’ obligation to respond to HCLOF’s request until
the Court rules on the CLOH Parties’ motion to amend. Accordingly, we respectfully request
that the Court approve the submitted joint stipulation and enter the proposed order.

       We appreciate the Court’s attention to this matter and are available to answer any
questions.

                                                           Respectfully submitted,

                                                           /s/ Uri A. Itkin

                                                           Uri A. Itkin
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Encls.
cc: All counsel of record.
